  Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.26 Filed 03/23/22 Page 1 of 31




                    UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


YPSILANTI TOWNSHIP CITIZENS FOR
RESPONSIBLE GOVERNMENT, ballot Case No. 5:22-cv-10614-SFC-CI
question committee,
                                Hon. Sean F. Cox
            Plaintiff,
v.

JOCELYN BENSON, in her official capacity
as Secretary of State of Michigan,
CHARTER TOWNSHIP OF YPSILANTI,
and HEATHER JARRELL ROE, in her
official capacity as Ypsilanti Township
Clerk.

             Defendants.


Hannah Stocker (P82847)
Attorneys for Plaintiffs
23332 Farmington Road #98
Farmington, MI 48336
(248) 252-6405 (phone)
hannah@stockerlawpllc.com

      MOTION FOR PRELIMINARY INJUNCTION & TEMPORARY
                    RESTRAINING ORDER

      Plaintiff, Ypsilanti Township Citizens for Responsible Government, by and

through its attorney, Hannah Stocker, hereby moves for a preliminary injunction

pursuant to Fed. R. Civ. Pro. 65(a) and temporary restraining order pursuant to Fed.

R. Civ. Pro. 65(b) against Defendants, Jocelyn Benson, Heather Jarrell Roe, as


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  Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.27 Filed 03/23/22 Page 2 of 31




Ypsilanti Township Clerk, and the Charter Township of Ypsilanti, prohibiting

enforcement of Mich. Comp. Laws § 125.3402(2) until disposition of the present

matter on the merits.

      In satisfaction of E.D. Mich. L.R. 7.1, concurrence in the instant relief was

requested, but no response was obtained.

      WHEREFORE, Plaintiff respectfully requests that this Court grant Plaintiff’s

Motion for Preliminary Injunction and Temporary Restraining Order and enjoin the

enforcement of Mich. Comp. Laws § 125.3402(2) until disposition of this case on

the merits or any other relief the Court deems just.


                                       Respectfully Submitted,

Dated: March 23, 2022

                                            /s/ Hannah Stocker
                                       By: ______________________________
                                          Hannah Stocker (P82847)
                                          23332 Farmington Road, #98
                                          Farmington, MI 48336
                                          (248) 252-6405 (telephone)
                                          Hannah@stockerlawpllc.com




                                           2
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.28 Filed 03/23/22 Page 3 of 31




                  UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN


YPSILANTI TOWNSHIP CITIZENS FOR
RESPONSIBLE GOVERNMENT, ballot Case No.
question committee,
                                Hon.
            Plaintiff,
v.

JOCELYN BENSON, in her official capacity
as Secretary of State of Michigan,
CHARTER TOWNSHIP OF YPSILANTI,
and HEATHER JARRELL ROE, in her
official capacity as Ypsilanti Township
Clerk.

           Defendants.


Hannah Stocker (P82847)
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 BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
            AND TEMPORARY RESTRAINING ORDER




                                     i
  Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.29 Filed 03/23/22 Page 4 of 31




              CONCISE STATEMENT OF ISSUES PRESENTED

To warrant a preliminary injunction, Plaintiff must show (1) a strong likelihood of
success on the merits; (2) that it would suffer irreparable injury absent the injunction;
(3) that the injunction would not cause substantial harm to others; and (4) that the
injunction is in the public interest. Has Plaintiff shown that Mich. Comp. Laws §
125.3402(2) is unconstitutional as applied to itself and other similarly situated
parties, as it places an undue burden on ballot access in large townships and is not
narrowly tailored to advance a legitimate government interest?




                                           ii
  Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.30 Filed 03/23/22 Page 5 of 31




           CONTROLLING AUTHORITY FOR RELIEF SOUGHT

U.S. Const. amend I: Congress shall make no law respecting an establishment of
religion, or prohibiting the free exercise thereof; or abridging the freedom of
speech, or of the press; or the right of the people peaceably to assemble, and to
petition the Government for a redress of grievances.

U.S. Const. amend XIV, § 1: All persons born or naturalized in the United States,
and subject to the jurisdiction thereof, are citizens of the United States and of the
state wherein they reside. No state shall make or enforce any law which shall
abridge the privileges or immunities of citizens of the United States; nor shall any
state deprive any person of life, liberty, or property, without due process of law;
nor deny to any person within its jurisdiction the equal protection of the laws.
Anderson-Burdick Test: Under this test, courts must analyze the “character and
magnitude of the asserted injury” to the plaintiff’s constitutional rights in relation
to the defendant’s interest in enforcing the regulation. Anderson v. Celebrezze, 460
U.S. 780 (1983); Burdick v. Takushi, 504 U.S. 428 (1992).




                                          iii
Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.31 Filed 03/23/22 Page 6 of 31




                          TABLE OF CONTENTS

 I.     INTRODUCTION                                                    1

 II.    BACKGROUND & FACTS                                              2

        A. The Michigan Zoning Enabling Act                             2

        B. Charter Township of Ypsilanti                                4

        C. The Zoning Amendment                                         4

 III.   LAW & ARGUMENT                                                  7

        A. Because Mich. Comp. Laws § 125.3402(2)’s 30-day time
           limit imposes a severe burden on entities gathering
           signatures in heavily-populated townships, Plaintiff has
           shown a strong likelihood of success on the merits.      7

                i.   Mich. Comp. Laws § 125.3402(2)’s 30-day
                     signature collection limit imposes a significant
                     burden on Plaintiff’s First and Fourteenth
                     Amendment rights in this case.                   9

               ii.   Because strict scrutiny applies, Mich. Comp.
                     Laws § 124.3402(2) is unconstitutional as applied,
                     as it is not narrowly tailored to advance an
                     important government interest.                    17

        B. Plaintiff will suffer irreparable injury absent an injunction
           or issuance of a temporary restraining order.                19

        C. The grant of a preliminary injunction serves the public
           interest, as it will prevent the application of an
           unconstitutional law to similarly situated plaintiffs and
           cause little to no harm to the public interest.          20

 IV.    CONCLUSION                                                     22


                                      iv
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.32 Filed 03/23/22 Page 7 of 31




                          INDEX OF AUTHORITIES

Cases:

Anderson v. Celebrezze, 460 U.S. 780 (1983)                               7

Bays v. City of Fairborn, 668 F.3d 814 (6th Cir. 2012)                    7

Buckley v. ACLF, 525 U.S. 182 (1998).                                    17

Burdick v. Takushi, 504 U.S. 428 (1992)                                 7, 8

Coalition to Defend Affirmative Action v. Granholm, 473 F.3d 237 (6th Cir. 2006)
                                                                        21

Connection Distrib. Co. v. Reno, 154 F.3d 281 (6th Cir. 1998)         19, 20

Eldrod v. Burns, 427 U.S. 347 (1976)                                     20

Graveline v. Benson, 992 F.3d 524, 534 (Mich. Ct. App. 2021).             8

Graveline v. Johnson, 336 F. Supp.3d 801 (E.D. Mich. 2018)                7

Korash v. City of Livonia, 388 Mich. 737; 202 N.W.2d 803 (Mich. 1972)
                                                                   15, 16

Libertarian Pty of Ohio v. Blackwell, 462 F.3d 579 (6th Cir. 2006)        8

Libertarian Pty of Ohio v. Husted, 751 F.3d 403 (6th Cir. 2014)       19, 20

Meyer v. Grant, 486 U.S. 414; 108 S. Ct. 1886; 100 L.Ed.2d 425 (1988)     9

New Alliance Pty of Alabama v. Hand, 933 F.2d 1568 (11th Cir. 1991)      17

Newsom v. Norris, 888 F.2d 371 (6th Cir. 1989)                           20

Nken v. Holder, 556 U.S. 418 (2009)                                      21

N.Y. Times v United States, 403 U.S. 713 (1971)                          20


                                          v
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.33 Filed 03/23/22 Page 8 of 31




Pursuing Am.’s Greatness v. F.E.C., 831 F.3d 500 (D.C. Cir. 2016)          21

Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013)                       21

Settles v. Detroit City Clerk, 169 Mich. App. 797; 427 N.W.2d 188 (Mich. Ct. App
1988)
                                                                    10, 15

Storer v. Brown, 415 U.S. 724 (1974)                                       17

Whitman v. Galien Township, 298 Mich. App. 672 (Mich. Ct. App. 2010) 2

Williams v. Rhodes, 393 U.S. 23, 30-31 (1968)                              10

Statutes:

Michigan Zoning Enabling Act, 2006 PA 110, Mich. Comp. Laws § 125.3101 et
seq.                                                                1

Mich. Comp. Laws § 125.3201                                                16

Mich. Comp. Laws § 125.3202(1)                                              2

Mich. Comp. Laws § 125.3301                                                 2

Mich. Comp. Laws § 125.3305                                                 3

Mich. Comp. Laws § 125.3308(5)                                              3

Mich. Comp. Laws § 125.3401                                                 3

Mich. Comp. Laws § 125.3402                             1, 6, 7, 9, 10, 14, 18

Mich. Comp. Laws § 125.3402(1)                                              3

Mich. Comp. Laws § 125.3402(2)              1, 3, 7, 9, 10, 15, 16, 17, 21, 22

Mich. Comp. Laws § 125.3402(3)(c)                                           4

Mich. Comp. Laws § 125.3403                                                17
                                       vi
  Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.34 Filed 03/23/22 Page 9 of 31




Mich. Comp. Laws § 168.544f                                          19

Mich. Comp. Laws § 168.641(1)                                        19


Constitutions

Mich. Const. 1963, Art. 2, § 9                                       18

Mich. Const. 1963, Art. 4, § 13                                      18




                                     vii
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.35 Filed 03/23/22 Page 10 of 31




      I.     INTRODUCTION
      Although imparted with the broad power of initiative and referendum, citizens

of townships have little authority when it comes to zoning ordinances. While the

Michigan Zoning Enabling Act, 2006 PA 110, Mich. Comp. Laws § 125.3101 et

seq. (the “MZEA”), specifically Mich. Comp. Laws § 125.3402(2), allows for a

township resident to petition for a zoning ordinance passed by the township to be

submitted to the voters for approval prior to enactment, this power is effectively

nullified when a township has a substantial population.           This is especially

troublesome in situations like the present, where the township has proposed a zoning

ordinance that would potentially permit an unlimited number of marihuana

businesses close to residential areas. Plaintiff, a ballot question committee formed

for the purpose of petitioning to allow Ypsilanti Township’s voters to decide whether

to enact the Zoning Ordinance, herein moves to enjoin enforcement of this statute in

the present case until disposition of this case on the merits.

      Plaintiff has a high likelihood of success on the merits, as Mich. Comp. Laws

§ 125.3402’s 15 percent signature threshold in conjunction with its 30-day limit on

signature gathering, as applied in populous townships, unduly burdens petitioner’s

First and Fourteenth Amendment rights to free political speech and direct

democracy. Given that there are less restrictive means to achieving the government’s

goals of regulating elections, it is likely that Plaintiff will prevail on the merits.

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 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.36 Filed 03/23/22 Page 11 of 31




Additionally, the harm to Plaintiff’s First Amendment rights if this statute is

enforced substantially outweighs the government’s interest in regulating elections.

As such, a preliminary injunction should issue in this matter.

      II.    BACKGROUND & FACTS
             A. The Michigan Zoning Enabling Act
      Municipalities have no authority to regulate land use by zoning legislation,

unless such action has been expressly authorized by the legislature. Whitman v.

Galien Township, 298 Mich. App. 672, 679 (Mich. Ct. App. 2010). The MZEA

allows local municipalities to regulate zoning within their jurisdictions by passing

zoning ordinances. Mich. Comp. Laws § 125.3202(1). Under the MZEA, “[t]he

legislative body of a local unit of government may provide by ordinance for the

manner in which the regulations and boundaries of districts or zones shall be

determined and enforced or amended or supplemented.” Mich. Comp. Laws §

125.3202(1).

      To carry out these mandates, the MZEA requires the formation of a zoning or

planning commission. See Mich. Comp. Laws § 125.3301. The zoning commission

investigates, develops, and evaluates public opinion of the zoning ordinance.

Following at least one public hearing, the zoning commission proposes to the local

legislative body a zoning plan denoting the areas subject to zoning, boundaries for

zoning districts, the text of the zoning ordinance with the necessary maps and zoning

regulations, and the manner of administering and enforcing the zoning ordinance.
                                          2
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.37 Filed 03/23/22 Page 12 of 31




Mich. Comp. Laws § 125.3305. After considering these materials, any public

comments, and having made any changes, the local legislative body votes on the

zoning ordinance. Mich. Comp. Laws § 125.3401. The proposed zoning ordinance

or amendment is adopted only if approved by majority vote of the local legislative

body. Mich. Comp. Laws § 125.3308(5).

      However, majority vote of the legislative body does not guarantee enactment

of the proposed zoning ordinance or amendment. The MZEA reserves the right of

referendum to the people. See Mich. Comp. Laws § 125.3402(1) A registered elector

in a municipality can lobby to have the zoning ordinance or amendment submitted

to the people for approval or rejection. See Mich. Comp. Laws §§ 125.3402 and

125.3403. In counties and townships, the elector must submit a notice of intent to

file a petition for referendum within seven days after publication of the zoning

ordinance. Mich. Comp. Laws § 125.3402(1). If the notice is filed,

            the petitioner shall have 30 days following the publication
            of the zoning ordinance to file a petition signed by a
            number of registered electors residing in the zoning
            jurisdiction not less than 15% of the total vote cast within
            the zoning jurisdiction for all candidates for governor at
            the last preceding general election at which a governor was
            elected, with the clerk of the legislative body requesting
            the submission of a zoning ordinance or part of a zoning
            ordinance to the electors residing in the zoning jurisdiction
            for their approval.
Mich. Comp. Laws § 125.3402(2).



                                         3
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.38 Filed 03/23/22 Page 13 of 31




      If the petition is filed by the deadline, is in the proper form, and contains the

requisite number of valid signatures, the zoning ordinance (or parts of the zoning

ordinance) will only become effective if it is approved by the county or township’s

electors at the next regular or special election. Mich. Comp. Laws § 125.3402(3)(c).

             B. Charter Township of Ypsilanti
      The State of Michigan is made up of cities, villages, and townships. Michigan

has 1,240 townships, which account for 96 percent of its land area outside of cities.

Of these townships, only 38 have populations in excess of 20,000 people, and only

five – including the Charter Township of Ypsilanti (the “Township”) – have

populations exceeding 50,000. Ex. 1. The Township is home to 55,670 citizens and

40,205 registered electors. Ex. 2. Of those registered electors, 23,649 cast votes for

governor in the 2018 election. Ex. 2.

             C. The Zoning Amendment
      In 2019, the Township tasked its Planning Commission and Development

Team with revising its zoning ordinance. After a delay in the project due to COVID-

19, the Planning Commission developed a revised zoning ordinance which

established new districts, amended district boundaries, and, importantly, set

regulations for marihuana facilities and establishments within the industrial and

commercial districts of the Township. See Charter Twp. of Ypsilanti, Ordinance 20-

498     (Feb.      15,     2022),       https://ytown.org/Doc-Repository/Download-

Documents/Clerks-Office-Documents/Ordinances-And-Resolutions/2022/2022-
                                           4
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.39 Filed 03/23/22 Page 14 of 31




Approved-Ordinances/2nd-Reading-Ordinance-No.-2022-498-Amending-the-

Entire-Township-Zoning-Ordinance.pdf (“Charter Twp. Ord.”). If enacted, the

revised zoning ordinance would allow marihuana facilities and establishments to

operate within any industrial and commercial district (the “I-C district”), as long as

the businesses were not located within 1,000 feet of a place of worship, school, or

childcare facility and not within 300 feet of a public park. Charter Twp. Ord. § 416

(C)(4). Additionally, the Draft Zoning Map extends the I-C district westward,

thereby abutting R-4 and R-5 residential districts. Ex. 3.

      On November 23, 2021, the Planning Commission held a public hearing to

receive public comment on the adoption of the Draft Zoning Ordinance and Draft

Zoning Map. Following this meeting, the Draft Zoning Ordinance was revised. On

January 11, 2022, the Planning Commission approved the Draft Zoning Ordinance

and Draft Zoning Map and sent them to the Ypsilanti Board of Trustees (the

“Board”) for approval. On January 18, 2022, the Board engaged in the first reading

of the Draft Zoning Ordinance. On February 15, 2022, the Board held a second

reading of the Draft Zoning Ordinance and voted in favor of its enactment.

      On February 24, 2022, the Township published its “Notice of Adoption of an

Amendment to the Zoning Ordinance Charter Township of Ypsilanti Township” in

the Washtenaw County Legal News. On March 1, 2022, Latrice T. Moore, a citizen

of the Township who is concerned about the impact of an unlimited number of


                                          5
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.40 Filed 03/23/22 Page 15 of 31




marihuana dispensaries in close proximity to residential areas, submitted her Notice

of Intent to File Petition Pursuant to MCL 125.3402. Ex. 4.

      Because 23,649 registered electors voted for governor in the Township in

2018, Citizens for Responsible Government is required to collect 3,548 valid

signatures by March 26, 2022 to fulfill the mandates of the MZEA. To do so,

Plaintiff has utilized the professional signature-gathering firm, Let the Voters

Decide, and agreed to pay the circulators an average of $20.00 per valid signature.

As of March 20, 2022, Let the Voters Decide has canvassed for signatures 24 days

and, although approximately 4,000 signatures have been collected, only obtained an

estimated 1,600 valid signatures. At this time,   approximately $50,000.00 has been

spent for signatures and petition circulation for this effort. However, because it still

lacks the requisite number of signatures to turn in the petition, Plaintiff has been

unable to fully verify the signatures and check for any duplicates.

      Plaintiff has brought this present action to challenge the constitutionality of

Mich. Comp. Laws § 125.3402 as applied to any populous township. Given the

impending deadline to turn in the petition, Plaintiff hereby moves for entry of a

preliminary injunction, preventing the disqualification of Plaintiff’s petition based

on the number of signatures collected until final disposition of the present matter.




                                           6
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.41 Filed 03/23/22 Page 16 of 31




      III.   LAW AND ARGUMENT
      When considering a motion for preliminary injunction, a district court should

balance the following factors: (1) whether the movant has a strong likelihood of

success on the merits; (2) whether the movant would suffer irreparable injury absent

the injunction; (3) whether the injunction would cause substantial harm to others;

and (4) whether the public interest would be served by issuance of an injunction.

Graveline v. Johnson, 336 F. Supp.3d 801, 807 (E.D. Mich. 2018). “In First

Amendment cases, ‘the crucial inquiry is usually whether the plaintiff has

demonstrated a likelihood of success on the merits [since] the issues of the public

interest and harm to the respective parties largely depend on the constitutionality of

the state action.’” Bays v. City of Fairborn, 668 F.3d 814, 819 (6th Cir. 2012)

(citations omitted). A preliminary injunction should be granted if a plaintiff

demonstrates that the circumstances demand it. Graveline, 336 F. Supp.3d at 807.

      Given that Mich. Comp. Laws § 125.3402 imposes a severe burden on

Plaintiff and other parties similarly situated, there is a strong likelihood of success

on the merits. Therefore, a preliminary injunction is warranted.

      A. Because Mich. Comp. Laws § 125.3402(2)’s 30-day time limit imposes
         a severe burden on entities gathering signatures in heavily-populated
         townships, Plaintiff has shown a strong likelihood of success on the
         merits.
      When assessing the validity of ballot access laws, a court must apply the

Anderson-Burdick test. See Anderson v. Celebrezze, 460 U.S. 780 (1983); Burdick

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 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.42 Filed 03/23/22 Page 17 of 31




v. Takushi, 504 U.S. 428 (1992). Under this test, courts must analyze the “character

and magnitude of the asserted injury” to the plaintiff’s constitutional rights in

relation to the defendant’s interest in enforcing the regulation. Anderson, 470 U.S.

at 789; see also Libertarian Pty of Ohio v. Blackwell, 462 F.3d 579, 587 (6th Cir.

2006) (noting that “the Court must not only determine the legitimacy and strength

of each of [the state’s] interests [in promulgating the litigation]; it also must consider

the extent to which those interests make it necessary to burden the plaintiff’s rights.”)

Different magnitudes of infringement implicate different scrutiny standards.

Therefore, “to accurately apply [the Anderson-Burdick] test, [the Court] must first

determine the actual burden placed upon [the parties] and their voter-supporters.”

Libertarian Pty of Ohio, 462 F.3d at 586.

       In assessing the burden to the voters, courts should look to the associational

rights at issue; whether alternate means are available to exercise those rights; the

effect of the regulations on the voters, parties, and candidates; and evidence of the

real impact the restriction has on the process; and the interests of the state relative to

the scope of the election. Id. at 587. If the state regulation imposes a severe burden

on the plaintiff’s constitutional rights, strict scrutiny applies and the regulation will

only be upheld if it is narrowly drawn to advance a state interest of compelling

importance. See Graveline v. Benson, 992 F.3d 524, 534 (Mich. Ct. App. 2021). If




                                            8
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.43 Filed 03/23/22 Page 18 of 31




the regulation imposes a lesser burden, a court must weigh the burden on the plaintiff

against the state’s asserted interest and chosen means of pursing it. Id. at 535.

             i.     Mich. Comp. Laws § 125.3402(2)’s 30-day signature
                    collection limit imposes a significant burden on Plaintiff’s
                    First and Fourteenth Amendment rights in this case.
      Strict scrutiny governs the case at hand. Mich. Comp. Laws § 125.3402

implicates significant associational rights. As the Supreme Court has observed:

      The circulation of a[]…petition of necessity involves both the

      expression of a desire for political change and a discussion of the merits

      of the proposed change. Although a petition circulator may not have to

      persuade potential signatories that a particular proposal should prevail

      to capture their signatures, he or she will at least have to persuade them

      that the matter is one deserving of the public scrutiny and debate that

      would attend its consideration by the whole electorate. This will in

      almost every case involve an explanation of the nature of the proposal

      and why its advocates support it. Thus, the circulation of a

      petition involves the type of interactive communication concerning

      political change that is appropriately described as “core political

      speech.” Meyer v. Grant, 486 U.S. 414, 421-22; 108 S. Ct. 1886; 100

      L.Ed.2d 425 (1988) (internal citations omitted).




                                           9
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.44 Filed 03/23/22 Page 19 of 31




       Under Mich. Comp. Laws § 125.3402, township citizens may only exercise

the right of referenda as to a zoning ordinance if they submit a petition signed by 15

percent of the number of voters who participated in the last gubernatorial election in

that municipality. See Mich. Comp. Laws § 125.3402(2). This is the only avenue

that voters have to challenge zoning ordinances in a township, as there is no general

right to initiate ordinances in municipalities, Settles v. Detroit City Clerk, 169 Mich.

App. 797, 801-802; 427 N.W.2d 188 (Mich. Ct. App. 1988), and, even if there were,

Michigan courts have held that the right of initiative does not extend to zoning

ordinances. Korash v. City of Livonia, 388 Mich. 737; 202 N.W.2d 803 (Mich.

1972). Given that § 125.3402(2) pertains to whether or not a referenda petition gets

placed on the ballot, this law directly implicates the right to direct democracy and

“the right of qualified voters . . . to cast their votes effectively.” Williams v. Rhodes,

393 U.S. 23, 30-31 (1968).

      As applied to Plaintiff and those similarly situated, Mich. Comp. Laws §

125.3402 places a significant burden on these constitutionally protected rights. To

begin, it requires an excessive number of signatures. The Township has 55,670

citizens, 23,649 of whom voted in the 2018 gubernatorial election. Therefore,

Plaintiff has to obtain 3,548 valid signatures within the 30-day time frame for the

referendum petition to be placed on the ballot for the next regular or special election.




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 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.45 Filed 03/23/22 Page 20 of 31




      This is difficult as petitioners often must obtain signatures well in excess of

what is required under the law to meet signature thresholds. The nature of petition

circulation is that a large number of signatures are invalid for various reasons,

normally that the petition signer signed multiple times (in which case, all duplicate

signatures are disqualified) or the signer is not a registered voter residing within the

municipality (which is especially problematic here where the Township is adjacent

to the City of Ypsilanti, and voters share the same mailing address). Thus, while the

statute requires approximately 3,548 signatures here, the reality is that Plaintiff is

required to obtain far more (perhaps as much as 150 percent of that number) in order

to ensure that it has secured a sufficient number of valid signatures to meet the

required threshold. This would not be difficult to achieve in a township that only

contains 1,000 voters who participated in the last election. However, the statute, as

applied to large townships, places an unreasonably high burden on the petitioner and

other, similarly-situated groups, especially in conjunction with the time frame.

      Although the statute expressly sets forth a 30-day period to obtain signatures,

in application, Plaintiff has significantly less time to do so. Each petition must be

printed and, even with due diligence (as was the case here), a petitioner generally

will not receive its printed petition for many days. In this case, Plaintiff did not

receive its printed petitions until     the evening of February 25, 2022. As such,

Plaintiff could not begin circulating its petition until two days into the 30-day period


                                          11
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.46 Filed 03/23/22 Page 21 of 31




(February 26, 2022). Additionally, this timeline was reduced, as, despite its best

efforts, Plaintiff was unable to distribute the petitions to all paid circulators until

February 28, 2022.

      This timeframe is further hindered by the nature of the actual petitioning

process. Plaintiff must verify each and every signature obtained to ensure it has met

the minimum threshold to submit its petition. (This process can take between three

to five days on an expedited timetable.) The purpose of this is to ensure the

circulators have not obtained duplicate signatures1 or signatures of electors who do

not reside in the Township. Political expert Mark Grebner has opined that in a ballot

initiative campaign such as the one herein, by the end of the campaign, “20% of the

signature collected would prove to be duplicates, meaning that 40% of the late

signatures will essentially be lost, unless the petitions are carefully searched for

duplicates to be struck.” Ex. 4. As such, if Plaintiff received the 3,548th signature on

the thirtieth day of the process, it would risk jeopardizing substantially more

signatures if it could not validate the signature and ensure there were no duplicates



      1
         Under Michigan Petition rules, if a signature is signed twice, both signatures
are struck. See Department of State, Second Staff Report: Fair and Equal Michigan
Initiative        Petition         (July         21,         2021),         p.        3,
https://www.michigan.gov/documents/sos/Staff_Report_v2_Fair_and_Equal_MI_0
72121_Final_730836_7.pdf. This is a significant problem and in and of itself
imposes a burden on Plaintiff’s right to direct democracy, as even if they gather valid
signatures, these are at risk of being invalidated if a duplicate signature is obtained.
Ex. 4.
                                          12
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.47 Filed 03/23/22 Page 22 of 31




prior to filing the petition with the township clerk. By requiring Plaintiff to obtain

such a high threshold for signatures within a limited time, § 125.3402 effectively

robs Plaintiff of the ability to “scrub” signatures in order to reject duplicates,

signatures from unregistered voters, or to otherwise cure any signature deficiencies.

      Additionally, weather and geographical conditions further complicate

Plaintiff’s ability to secure signatures within the time frame. Although Plaintiff has

diligently canvased the Township to obtain signatures, the time of year and

Township geography have impeded Plaintiff’s ability to obtain these signatures in a

timely matter. Plaintiff has been restricted to collecting these signatures in the

months of February and March. These are two of the coldest months of the year,

with minimal outdoor events and infrequent foot traffic in public areas. Whereas

spring, summer, or fall may allow Plaintiff to potentially secure hundreds of

signatures at outdoor events or in heavily foot trafficked areas,2 Plaintiff does not

have the same opportunities to do so in the winter. Additionally, even if people were

more frequently out in public, the Township lacks geographic focus and contains

few heavily frequented public spaces that would allow Plaintiff to obtain significant

numbers of signatures in public. See Ex. 4 – Mark Grebner Affidavit. Given that the


      2
        See Mark Grebner, Mark Grebner on Petition Drives, STEVE HARRY PUBLIC
POLICY.COM (Aug. 21, 2011), http://steveharrypublicpolicy.com/Grebner.htm
(noting that local canvassers often turn their attention to public events, rather than
door-to-door as “door-to-door [amongst other things] doesn’t initially produce as
many signatures per hour as a public event.”
                                         13
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.48 Filed 03/23/22 Page 23 of 31




Township lacks areas that allow for the concentrated gathering of signatures,

Plaintiff has been predominantly limited to securing signatures through use of door-

to-door (an admittedly inefficient and ineffective form of) canvassing. This, in and

of itself, presents a bar to a private citizen’s ability to call for referenda in highly

populated areas.

      The high signature threshold and scant window of opportunity limits the right

of referendum under Mich. Comp. Laws § 125.3402 in populous townships to only

the most organized and well-funded of advocacy organizations, thereby effectively

barring private citizens and many advocacy groups from engaging in these efforts.

A private citizen may be able to easily secure signatures from 15 percent of the

electorate in a township with a population of several hundred, but would be unlikely

to obtain more than 3,000 signatures within 30 days by their own individual efforts,

or even the cumulative efforts of a number of volunteer citizens. Thus, the high

signature threshold and limited timeframe effectively mandates the use of a

signature-gathering company. Requiring such a high number of signatures is cost

prohibitive and precludes the average citizen from reaching the signature threshold

in an expeditious manner. See Ex. 4 (noting that “collecting sufficient signatures [in

the Township] would require an intensive door-to-door canvass, which is very

expensive if conducted by paid canvassers, or very labor-intensive and difficult to

manage if conducted by volunteers.”) Indeed, here, Plaintiff is paying its circulators


                                          14
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.49 Filed 03/23/22 Page 24 of 31




an extremely high rate of approximately $20.00 per valid signature due to the short

timeframe. By contrast, in most circumstances, petitioners pay circulators at a rate

of $1-$2 per signature.3 Therefore, at the present, increased rate, it would cost at

least $70,000.00 for Plaintiff to obtain 3,548 signatures (many of which may be

invalid, thereby requiring Plaintiff to pay for even more signatures). Given these

figures, the average citizen would be unable to obtain enough signatures to file a

valid referendum petition under Mich. Comp. Laws § 125.3402 in a populous

township, making the statute cost-prohibitive. See Ex. 4.

      Finally, Mich. Comp. Laws § 125.3402(2)’s signature requirement in

conjunction with the 30-day time frame specifically burdens the right to referendum.

As briefly discussed above, dissatisfied citizens have no other way to challenge

zoning ordinances. In Const. 1963, Art. 2, § 9, the people of Michigan reserved to

themselves “the power to propose laws and to enact and reject laws, called the

initiative, and the power to approve or reject laws enacted by the legislature, called

the referendum.” “However, this reserved power does not include the power of

initiative or referendum with respect to local ordinances.” Settles v. Detroit City

Clerk, 169 Mich. App. 797, 802; 427 N.W.2d 188 (Mich. Ct. App. 1988) (citing

Korash v. Livonia, 388 Mich. 737, 742 n 3, 202 N.W.2d 803 (Mich. 1972)). Rather,



      3
        Yes on Term Limits, Inc. v. Savage, No. Civ-07-680-L., 2007 WL 2670178,
at *1 (W.D. Okla. Sept. 7, 2007) (unpublished).
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 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.50 Filed 03/23/22 Page 25 of 31




such powers with respect to local ordinances are derived from various state statutes.

Id. Thus, there is no general right to initiate or refer an ordinance in a township, and

that right must be derived from a specific statute, such as Mich. Comp. Laws §

125.3402. Thus, if petitioners are effectively prohibited from pursuing a referendum

under that statute, they have no other recourse. Moreover, even if there were a

general right of initiative in townships, and petitioners could even theoretically seek

to amend a zoning ordinance through that authority, Michigan courts have found that

these general powers do not extend to zoning ordinances. See, Korash, supra.

      Unlike other statutes, which grant citizens the ability to amend charters or

implement ordinances through initiative, the MZEA leaves the power to adopt

zoning regulations exclusively to the local unit of government. See Mich. Comp.

Laws § 125.3201. As such, beyond public comment at a public hearing and

referendum, citizens have no input into their township’s zoning ordinances and no

recourse against the township if they are unable to file adequate petitions. Mich.

Comp. Laws § 125.3204 is the only mechanism for citizens to directly challenge a

zoning decision of a township.

      Thus, the signature and timing requirements of Mich. Comp. Laws §

125.3402(2), when applied to populous townships, effectively combine to insulate

zoning ordinances from popular scrutiny. By requiring petitioners to obtain a large

number of signatures within a short timeframe, the statute all but ensures that zoning


                                          16
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.51 Filed 03/23/22 Page 26 of 31




ordinances or amendments will not be subject to a referendum. Therefore, Mich.

Comp. Laws § 125.3402(2) places an undue burden on Plaintiff’s First and

Fourteenth Amendment rights and strict scrutiny should apply.

             ii.   Because strict scrutiny applies, Mich. Comp. Laws §
                   125.3402(2) is unconstitutional as applied, as it is not
                   narrowly tailored to advance an important government
                   interest.
      To be upheld under strict scrutiny, a government regulation must be narrowly

tailored to advance a compelling state interest. Buckley v. ACLF, 525 U.S. 182, 192,

n. 12 (1998). To do so, the state must demonstrate there was no less restrictive means

by which it could achieve its important interest. See New Alliance Pty of Alabama v.

Hand, 933 F.2d 1568, 1576 (11th Cir. 1991). The regulation shall not be upheld if a

less restrictive means is available. See Anderson, supra, at 806.

       The State can advance no legitimate interest in requiring Plaintiff to obtain

the signatures of 15 percent of the Township’s registered electors within 30 days.

Although courts have recognized that states have the authority to regulate the time,

place, and manner of holding elections and to ensure that the elections are fair,

honest, and orderly, see e.g. Storer v. Brown, 415 U.S. 724, 730 (1974), this

regulation is not narrowly tailored to advance that goal. Less restrictive measures

exist for Defendants to advance that interest. For example, Mich. Comp. Laws §

125.3403 allows city and village citizens to challenge proposed amendment by

submitting a protest petition signed by the owners of at least 20% of the land

                                         17
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.52 Filed 03/23/22 Page 27 of 31




included in the proposed change or within an area extending outward 100 feet from

any point of the boundary of the proposed change.

      By way of further example, Mich. Const. 1963, Art. 2, § 9 requires a person

seeking to invoke the right of referendum with regard to a state law to obtain

“petitions signed by a number of registered electors, not less than… five percent for

referendum of the total vote cast for all candidates for governor at the last preceding

general election at which a governor was elected…” Moreover, that provision also

allows such petitioners a much longer timeframe to gather such signatures, namely,

the referendum authority must be invoked “within 90 days following the final

adjournment of the legislative session at which the law was enacted.” Id. Thus, at

minimum, a party seeking to refer a state law has 90 days to gather signatures

(assuming the law was enacted on the same day the Legislature adjourned sine die

pursuant to Mich. Const. 1963, Art. 4, § 13), and, in reality, will likely have a number

of months to obtain signatures if the law was enacted well before the Legislature

adjourned sine die. As such, the signature and timing requirements in Mich. Comp.

Laws § 125.3402 are not narrowly tailored to fulfill the legitimate government

interest of regulating elections.

      However, it would be easy to remedy this failure. For example, Defendant

could advance this interest by requiring a number of signatures determined by the

population of the municipality. For example, state law requires a candidate for


                                          18
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.53 Filed 03/23/22 Page 28 of 31




certain offices to obtain a number of valid signatures on a nominating petition. This

number varies depending upon the population of the district in which that candidate

is running. Mich. Comp. Laws § 168.544f. By requiring a “one size fits all” number

of signatures pursuant to Mich. Comp. Laws § 124.3402, the State has effectively

created a threshold that is impossible to overcome in populous townships.

Alternatively, Plaintiff can be allotted more time to reach the threshold, as the zoning

ordinance can be voted on at either the next regular election4 or any special election,

called for the specific purpose of voting on the zoning ordinance, in the township.

See Mich. Comp. Laws § 124.3402(3)(c).

      Given that no legitimate government interest exists to require Plaintiff to

obtain over 3,000 signatures in such a short timeframe, Plaintiff will likely succeed

on the merits and a preliminary injunction should issue.

      B. Plaintiff will suffer irreparable injury absent an injunction or issuance
         of a temporary restraining order.
      If this Court does not grant the injunction or a temporary restraining order,

Plaintiff and those similarly situated will suffer irreparable injury, as they will be

effectively barred from challenging zoning decisions in their local municipalities.

      It is well settled that even minimal loss of First Amendment freedoms

“unquestionably constitutes irreparable injury.” Libertarian Pty of Ohio v. Husted,


      4
      Regular elections are held either the first Tuesday after the first Monday in
May, August, or November. See Mich. Comp. Laws § 168.641(1).
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 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.54 Filed 03/23/22 Page 29 of 31




751 F.3d 403, 412 (6th Cir. 2014); Connection Distrib. Co. v. Reno, 154 F.3d 281,

288 (6th Cir. 1998); Eldrod v. Burns, 427 U.S. 347, 373 (1976); Newsom v. Norris,

888 F.2d 371, 378 (6th Cir. 1989); N.Y. Times v United States, 403 U.S. 713, 715

(1971) (Black, J., concurring). If Mich. Comp. Laws § 125.3402(2) is enforced as

written, Plaintiff will be unable to obtain sufficient signatures to refer the Zoning

Ordinance to vote of a people. See e.g. Exhibit 4. As such, Plaintiff will likely be

deprived of its First and Fourteenth Amendment rights to free political speech and

will suffer irreparable harm.

      Furthermore, citizens of the Township will be harmed, absent an injunction,

as they will be denied the opportunity to vote on relevant amendments to the

Township’s zoning ordinance, particularly as to whether marihuana businesses will

be allowed to open within a mile of residential housing within the Township. The

advent of these businesses could lead to a decrease in property values and affect the

safety and general welfare of the Township’s citizens, as the businesses may cause

an increase in crime and public nuisances. As such, Plaintiff, and others similarly

situated, would be irreparably harmed absent the grant of a preliminary injunction.

      C. The grant of a preliminary injunction serves the public interest, as it
         will prevent the application of an unconstitutional law to similarly
         situated plaintiffs and cause little to no harm to the public interest.
      The questions of harm to others and serving the public interest are inversely

proportional to the likelihood of success on the merits. Husted, 751 F.3d at 412


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 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.55 Filed 03/23/22 Page 30 of 31




(quoting Connection Dist. Co. v. Reno, 154 F.3d 281, 288 (1998)). “[B]ecause the

questions of harm to the parties and the public interest generally cannot be addressed

properly in the First Amendment context without first determining if there is a

constitutional violation, the crucial inquiry often is, and will be in this case, whether

the state action at issue is likely to be found constitutional.” Id. The primary factor

showing irreparable harm to Plaintiff, i.e. the denial of its constitutional rights, also

shows why the public interest is furthered by an injunction. See Nken v. Holder, 556

U.S. 418, 435 (2009) (noting that irreparable harm and public interest “merge” when

the government is a party). “[T]he public interest lies in a correct application of the

federal constitutional and statutory provisions upon which claimants have brought

this claim and ultimately . . . upon the will of the people of Michigan being effected

in accordance with Michigan law.” Coalition to Defend Affirmative Action v.

Granholm, 473 F.3d 237, 252 (6th Cir. 2006) (internal quotation and citation

omitted). It logically flows that “enforcement of an unconstitutional law is always

contrary to the public interest.” Pursuing Am.’s Greatness v. F.E.C., 831 F.3d 500,

511 (D.C. Cir. 2016) (quoting Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir.

2013)).

      Given that Mich. Comp. Laws § 125.3402(2) unduly burdens the right to refer

proposed zoning ordinances as applied to Plaintiff and similarly situated parties, it

is in the public interest to enjoin Defendants to enforcing it. Additionally, Defendant


                                           21
 Case 2:22-cv-10614-SFC-CI ECF No. 6, PageID.56 Filed 03/23/22 Page 31 of 31




will suffer little to no harm by enjoining the enforcement of the zoning ordinance

until disposition of this matter, as the referendum seeks only to repeal portions of

the ordinance authorizing marihuana businesses within the Township and,

particularly, within the vicinity of residential areas.

      As such, a preliminary injunction and temporary restraining order should issue

until a disposition of this case on the merits.

      IV.    CONCLUSION

      For the foregoing reasons, this Court should issue a Preliminary Injunction

and/or temporary restraining order and enjoin the enforcement of Mich. Comp. Laws

§ 125.3402(2) until disposition of this case on the merits.

      WHEREFORE, Plaintiff respectfully requests that this Court grant Plaintiff’s

Motion for Preliminary Injunction and Temporary Restraining Order and enjoin the

enforcement of Mich. Comp. Laws § 125.3402(2) until disposition of this case on

the merits or any other relief the Court deems just.

                                         Respectfully Submitted,

Dated: March 23, 2022

                                              /s/ Hannah Stocker
                                         By: ______________________________
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                                           22
